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                   IN THE UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF MARYLAND

 UNITED STATES                                  :
                                                :
                                                :
        v.                                      :      Case No. PJM-22-0209
                                                :
 NICHOLAS ROSKE,                                :
                                                :
        Defendant                               :
                                             ORDER

       Upon consideration of the Defendant’s Motion to Suppress Statements it is this _____

day of July, 2022, hereby:

       ORDERED, that the motion is GRANTED; and it is further

       ORDERED, that the Defendant’s custodial statements are excluded from use in the

government’s case-in-chief; and it further

       ORDERED, that the Defendant’s custodial statements are excluded from use as

impeachment evidence.




                                                       ______________________
                                                       Peter J. Messitte
                                                       Senior United States District Judge




                                                 1
